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                                      United States District Court
                                       Southern District of Ohio
                                  Eastern Division at Columbus, Ohio

United States of America

-vs-                                                              Case No. 2:18-mj-97

Gerald A. Lawson


                                       COURTROOM MINUTES
                                          Initial Appearance

U.S. Magistrate Judge Kimberly A. Jolson               Date: February 12, 2018 @ 3:30 p.m.
Deputy Clerk          Jessica Rector                   Counsel for Govt:      Noah Litton
Court Reporter        CourtSmart                       Counsel for Deft(s):   George Chaney
Interpreter                                            Pretrial/Probation:
Log In                3:30 p.m.                        Log Out                3:35 p.m.


Defendant advised of rights, charges, and penalties.

Defendant has retained counsel, Adam Nemann.

Government seeks detention.

Preliminary Exam set for 2/20/18 @ 2:00 p.m.

Detention Hearing set for 2/14/18 @ 2:45 p.m.

Defendant remanded to USMS.
